     Case 4:05-cv-00050-JLK-mfu            Document 36        Filed 04/21/06      Page 1 of 8
                                           Pageid#: 522



                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                  DANVILLE DIVISION


STEPHANIE B. HALL,                                )
                                                  )      Case No. 4:05CV00050
               Plaintiff,                         )
                                                  )
v.                                                )      MEMORANDUM OPINION
                                                  )
WAL-MART STORES, INC.,                            )
                                                  )      By: Jackson L. Kiser
               Defendant.                         )          Senior United States District Judge
                                                  )
                                                  )
                                                  )
                                                  )

       Before me now is Defendant Wal-Mart Stores, Inc.’s (“Defendant”) Fed. R. Civ. P. 56

Motion for Summary Judgment against Plaintiff Stephanie B. Hall (“Plaintiff”). The parties

have briefed the issues and oral argument was held on April 13, 2006. The motion is therefore

ripe for decision. For the reasons stated herein, Defendant’s Motion for Summary Judgment will

be DENIED.

I.     LEGAL STANDARD

       A.      Summary Judgment

       Summary judgment is appropriate where no genuine issue exists as to any material fact

and the moving party is entitled to judgment as a matter of law. Fed. R. Civ. P. 56(c). An

adverse party may not rest upon the mere allegations or denials of the adverse party's pleading,

but must set forth specific facts showing that there is a genuine issue for trial. Fed. R. Civ. P.

56(e). A genuine issue of a material fact exists “if the evidence is such that a reasonable jury

could return a verdict for the nonmoving party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242,

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     Case 4:05-cv-00050-JLK-mfu             Document 36        Filed 04/21/06       Page 2 of 8
                                            Pageid#: 523



247-48 (1986). In making this determination, “the court is required to view the facts and draw

reasonable inferences in a light most favorable to the nonmoving party.” Shaw v. Stroud, 13

F.3d 791, 798 (4th Cir. 1994) (citations omitted), cert. denied, 513 U.S. 813 (1994); Felty v.

Graves-Humphreys Co., 818 F.2d 1126, 1129 (4th Cir. 1987). Nevertheless, where the record

taken as a whole cannot lead a rational trier of fact to find for the nonmoving party, no genuine

issue exists for trial and summary judgment is appropriate. Matsushita Elec. Indus. Co. v. Zenith

Radio Corp., 475 U.S. 574, 587 (1986). Additionally, “the mere existence of a scintilla of

evidence in support of the plaintiff’s position will be insufficient; there must be evidence on

which the jury could reasonably find for the plaintiff.” Anderson, 477 U.S. at 252.

       B.      Virginia Substantive Law

       This case came to this Court under diversity jurisdiction. 28 U.S.C. § 1332(a). As a

result, the substantive law of Virginia will be applied to the facts of this case. In slip and fall

cases, the law of Virginia is well-settled. The defendant store-owner must exercise a “duty to

exercise ordinary care toward [its customers] as its invitee upon its premises. In carrying out this

duty it [is] required to have the premises in a reasonably safe condition...[T]o remove, within a

reasonable time, foreign objects from its floors which it may have placed there or which it knew,

or should have known, that other persons had placed there.” Colonial Stores, Inc. v. Pulley, 203

Va. 535, 537 (1962). Thus, an injured plaintiff may recover in a slip and fall case against a

defendant store-owner if she can prove that the store-owner had either actual or constructive

notice of the dangerous condition which caused her injury. Winn-Dixie Stores, Inc. v. Parker,

240 Va. 180, 184 (1990). In this case, Plaintiff only seeks to prove that Defendant had actual




                                                   2
      Case 4:05-cv-00050-JLK-mfu           Document 36        Filed 04/21/06       Page 3 of 8
                                           Pageid#: 524



notice of the dangerous condition that caused her injury.1

II.    STATEMENT OF THE FACTS

       The following chain of events comprise the facts of this case when viewed in the light

most favorable to Plaintiff. On November 20, 2003, Plaintiff and her two daughters went

shopping at the Defendant’s store in Halifax County, Virginia. While walking in the bread aisle,

Plaintiff slipped on a pool of liquid soap that came from a Winnie-the-Pooh soap dispenser. As a

result of her fall, Plaintiff sustained severe injuries to her left knee and back. It is unknown

exactly how long the spill was on the floor before Plaintiff slipped or who caused the spill. After

she fell, Plaintiff went to Defendant’s customer service desk to report her injury while her

daughters remained in the bread aisle. At the desk, she spoke with assistant manager Jeffrey

Fullen (“Fullen”). According to Plaintiff, Fullen contacted another, unidentified, Wal-Mart

employee via walkie-talkie to report the spill. Fullen told this person to look into the spill and

the unidentified person said that someone “was supposed to get that up 30 minutes ago.” Soon

thereafter, Fullen contacted Assistant Manager Theresa Powell (“Powell”) by walkie-talkie and

told her to photograph and then clean up the spill. Only Defendant’s managers, assistant

managers, and the on-duty employee at the customer service desk carry walkie-talkies.2 Plaintiff

alleges that the other on-duty assistant manger, Powell, was the unidentified employee in the

conversation with Fullen. Defendant alleges that there is no proof that the incriminating

statement was made at all.


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       “This case is not about whether Wal-Mart had ‘constructive notice.’” (Plaintiff’s Brief in
Opposition at p. 9).
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        Deposition testimony of Powell also states that employees in the fitting room carry
walkie-talkies.

                                                  3
       Case 4:05-cv-00050-JLK-mfu           Document 36        Filed 04/21/06      Page 4 of 8
                                            Pageid#: 525




III.    PROCEDURAL HISTORY

        Plaintiff originally filed this case in Halifax County Circuit Court and Defendant properly

removed the case to this Court on September 12, 2005. Defendant filed its Motion for Summary

Judgment on March 14, 2006, Plaintiff filed her Brief in Opposition on March 28, 2006, and

Defendant filed its Reply Brief on April 4, 2006. Oral argument on Defendant’s motion was

held before this Court on April 13, 2006.

IV.     DISCUSSION

        In this case, Plaintiff has alleged that Defendant was on actual notice of the spill that

caused her to fall. The only evidence Plaintiff can point to in order to substantiate her actual

notice argument is the statement to Fullen by the unknown Wal-Mart employee to the effect that

someone “was supposed to get that up 30 minutes ago.” Defendant raises two evidentiary

arguments to show why this statement is inadmissible and, therefore, Plaintiff’s claim fails and

summary judgment should be entered for Defendant. For the reasons that follow, I find neither

of Defendant’s arguments availing.

        A.     Federal Rule of Evidence 801(d)(2)(C and (D)

        Defendant submits that the statement at issue fails to meet the foundational requirements

of FRE 801(d)(2)(C) and (D) which cover different forms of admissions by a party-opponent.

FRE 801(d)(2)(C) admits statements into evidence that are against a party and made by “a

person authorized by the party to make a statement concerning the subject.” This rule “demands

as a prerequisite to admissibility a showing based on evidence independent of the alleged

hearsay that the declarant is an agent of the party with authority to speak on the subject.” U.S. v.

Portsmouth Paving Corp., 694 F.2d 312, 321 (4th Cir. 1982). FRE 801(d)(2)(D) admits a

                                                  4
     Case 4:05-cv-00050-JLK-mfu            Document 36       Filed 04/21/06      Page 5 of 8
                                           Pageid#: 526



statement when it is made “by the party’s agent or servant concerning a matter within the scope

of the agency or employment [and] made during the existence of the relationship.” The scope of

this rule is broader than (d)(2)(C). Id. While independent proof of an agency relationship must

still be established, “authorization to speak need not be shown. That the statement is made within

the scope of the agency is sufficient.” Id.

       Defendant argues that independent proof of an agency relationship between Wal-Mart

and the unknown speaker on the walkie-talkie does not exist. Such proof is impossible for

Plaintiff to show, states Defendant, precisely because the speaker cannot be definitively

identified. Furthermore, Plaintiff’s own attempts to identify the speaker conflict with each other

to such a degree that they must be dismissed as mere speculation. While it is true that Plaintiff’s

prior statements do appear to be in conflict with the argument made in her Brief in Opposition,

when evaluated in the light most favorable to her the inconsistencies are easily resolvable.

       In Plaintiff’s deposition and in an answer to an Interrogatory, she stated that at the time

she heard the statement, she thought it was made by “a black boy” because the voice was not

very deep and the name was “very unusual.” (Hall’s Deposition, p. 100). As noted above,

however, Plaintiff now alleges that the unknown voice belonged to Assistant Manager Powell, a

Caucasian female. In the light most favorable to Plaintiff, this discrepancy is best explained by

Plaintiff’s statement that she was only “vaguely” listening to Fullen’s conversation, that the

walkie-talkie conversation was “muffled” and “hard to understand,” and that there was a lot of

commotion at the customer service desk when the conversation occurred. (Id., at 101-02, 106-

07). In addition, Plaintiff was in pain and upset when the conversation between Fullen and the

unknown speaker occurred. (Id., at 102).


                                                 5
     Case 4:05-cv-00050-JLK-mfu            Document 36        Filed 04/21/06      Page 6 of 8
                                           Pageid#: 527



       A reasonable jury could use any or all of these factors to discount or ignore Plaintiff’s

initial impression of the speaker’s identity. A reasonable jury could also find that Powell was

the unidentified speaker based on circumstantial evidence. For instance, both parties agree that

Fullen contacted Powell concerning the spill soon after his conversation with the unknown

speaker ended. ( See, e.g., Fullen’s Deposition, p. 14; Powell’s Deposition, p. 15). It would be

perfectly reasonable for a jury to infer that Powell was the unknown speaker based on the fact

Fullen contacted Powell about cleaning up the spill only moments after having a conversation

about the existence and location of the spill with the unknown speaker. In other words, it would

be reasonable to find that Fullen first spoke with Powell about the nature of the spill and then

radioed her back soon thereafter instructing her to clean it up. Indeed, Powell was trained by

Defendant in how to properly clean up spills like the one that injured Plaintiff. (Powell

Deposition, p. 14-15). On the other hand, it would be reasonable for the jury to conclude that

Fullen either spoke with someone else about the spill before radioing Powell or that Plaintiff is

making the entire conversation up in order to hold Defendant liable. The issue of identity is

simply one of credibility of the witnesses and resolving this issue is the province of the jury, not

the judge.

       Alternatively, Defendant argues that the unknown speaker’s statement must be excluded

under 801(d)(2)(D) because there is no proof that the statement concerned a matter within the

unknown speaker’s scope of employment. I disagree with this argument for the simple reason

that it is illogical to believe that Fullen would contact a person about a spill whose scope of

employment did not include directly or indirectly cleaning up spills. More fundamentally, it is

undisputed that only high-ranking employees at Defendant’s Halifax County store carry walkie-


                                                  6
     Case 4:05-cv-00050-JLK-mfu            Document 36        Filed 04/21/06      Page 7 of 8
                                           Pageid#: 528



talkies. It would clearly be within the scope of a high-ranking employee’s employment, like

Powell, to clean up the spill or tell someone else to do it. As noted above, Powell stated in her

deposition that she has been trained by Defendant to clean up spills. Id. Therefore, Defendant’s

argument as to 801(d)(2)(D) must fail. A sufficient foundation that the unknown speaker was

Powell has been laid, albeit by circumstantial evidence, and discussing the spill would have

clearly been within her scope of employment. Having found the statement admissible under

801(d)(2)(D), I need not address Defendant’s 801(d)(2)(C) argument.

       B.      FRE 403

       Defendant next argues that even if the statement is admissible, it is inadmissible under

FRE 403 because its probative value is substantially outweighed by the danger of unfair

prejudice. In its briefs, Defendant submits several explanations detailing why the statement is

unfairly prejudicial. These arguments range from the suspicious circumstances of Plaintiff’s

injury, to the possibility that the unknown speaker was talking about a different spill, to the

policy justifications for prohibiting statements from unknown speakers. I must reject these

arguments because they are all driven by credibility determinations and weighing of evidence.

These tasks are for the jury and cannot form the basis for dismissing this case at the summary

judgment stage.

       I find that the statement that Plaintiff alleges was made by Powell that someone “was

supposed to get that up 30 minutes ago” is admissible under 801(d)(2)(D). This statement alone

creates a genuine issue of material fact about Defendant’s actual knowledge of the spill on which

Plaintiff slipped and sustained injuries. Whether the evidence ultimately shows that the

unknown speaker was Powell, as Plaintiff alleges, is a question of witness credibility that will


                                                  7
     Case 4:05-cv-00050-JLK-mfu            Document 36     Filed 04/21/06      Page 8 of 8
                                           Pageid#: 529



require the weighing of the facts and circumstances surrounding this case. That is the province

of the jury. Therefore, Defendant’s motion for summary judgment must be DENIED.

V.     CONCLUSION

       For the reasons stated above, Defendant’s Motion for Summary Judgment will be

DENIED.

       The Clerk is directed to send a certified copy of this Memorandum Opinion and the

attached Order to all counsel of record.

       ENTERED this 21st day of April, 2006.




                                                    s/Jackson L. Kiser
                                                    Senior United States District Judge




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